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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                   www.flsb.uscourts.gov

  NLG, LLC,                                            Case No. 17-cv-24127-DPG

         Appellant,

  v.

  LIZA HAZAN a/k/a ELIZABETH HAZAN
  and SELECTIVE ADVISORS GROUP, LLC,

        Appellees.
  _____________________________________/


                      STIPULATION FOR SUBSTITUTION OF COUNSEL

          David W. Langley, Esq. and the Law Firm David W. Langley, as counsel of record for the
  Appellee, Liza Hazan, and Joel M. Aresty, Esq of the law firm of Joel M. Aresty, P.A., stipulate and
  agree to the substitution of record of Joel M. Aresty, Esq. and Joel M. Aresty, P.A. as counsel of
  record for Appellee, Liza Hazan,. All future pleadings, correspondence, and other paper directed to
  Appellee’s counsel in this matter should be directed to: Joel Aresty


                                            com

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